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“BY

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

October 2017 Grand Jury

UNITED — OF AMERICA, ED ERE Re 1 7 = 23 9 PA

Plaintifé, INDICTMENT
v. [18 U.S.C. § 922(g) (1): Felon in
Possession of a Firearm and
MELVIN EDWARDS III, Ammunition] :

aka “Melvin Thaj Edwards,”
aka “Jack Edwards,”

Defendant.

 

 

 

The Grand Jury charges:

[18 U.S.C. § 922(g) (1)]

On or about September 14, 2017, in San Bernardino County,
within the Central District of California, defendant MELVIN EDWARDS
III, also known as (“aka”) “Melvin Thaj Edwards,” aka “Jack Edwards”
(“EDWARDS”), knowingly possessed a firearm, namely, a Canik, model
TP9SF, 9mm caliber pistol, bearing serial number 16AT10487, and
ammunition, namely, approximately nine rounds of Federal Cartridge
Company 9mm caliber ammunition and nine rounds of Jagemann
Corporation 9mm caliber ammunition, in and affecting interstate and

foreign commerce.

 
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Such possession occurred after defendant EDWARDS had been
convicted of at least one of the following felony crimes, each
punishable by a term of imprisonment exceeding one year:

(1) Possession or Purchase of Cocaine for Sale, in violation of
California Health and Safety Code Section 11351.5, in the Superior
Court of the State of California, County of Riverside, case number
RIF73111, on or about February 25, 1997;

(2) Possession of a Controlled Substance for Sale, in
violation of California Health and Safety Code Section 11378, in the
Superior Court of the State of California, County of Los Angeles,
case number GA057100, on or about July 14, 2004;

(3) Planting, Cultivating, Harvesting, Drying, and Processing
Marijuana While Armed with a Firearm, in violation of California
Health and Safety Code 11358, in the Superior Court of the State of
California, County of San Bernardino, in case number FVA24755, on or
about August 10, 2007;

(4) Driving While Having a .08% or Higher Blood Alcohol with
Prior Convictions, in violation of California Vehicle Code Section
23152(b), in the Superior Court of the State of California, County
of San Bernardino, case number FVI1202567, on or about October 2,
2012; and

(5) Evading an Officer, Willful Disregard, in violation of

California Vehicle Code Section 2800.2(a), in the Superior Court of

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the State of California, County of San Bernardino, case number

FVI1202567, on or about October 2,

SANDRA R. BROWN
Acting United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

S-_

SCOTT M. GARRINGER
Assistant United States Attorney
Deputy Chief, Criminal Division

CHRISTINA T. SHAY

Assistant United States Attorney
Deputy Chief, General Crimes
Section

CHELSEA NORELL
Assistant United States Attorney
General Crimes Section

2012,

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Foreperson

 

 
